Case 2:05-cr-20279-SH|\/| Document 4 Filed 07/21/05 Page 1 of 2 Page|D 7

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Thoml¢M.Godd,Chn¢
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Plaintiff,

Cr.No.M
05-20279Ma v

RODER|CK K. SMITH,

Defendant.

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vs. )
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Upon motion of the United States, the indictment and arrest warrant against the
above-named Defendant are hereby ordered sealed, until the initial appearance of the

defendant, in the instant case.

|T lS SO ORDERED this él£day Of Ju|y, 2005.

'”ih_

U.S. MAG|STRATE JUDGE

     

Jose h C. Murphy, Jr.

This dochant entered on the docket sh§t ln compiiance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20279 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

